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                             IN THE UNITED STATES DISTRICT COURT FOR THE
                                   WESTERN DISTRICT OF OKLAHOMA

NATIONAL CANCER ASSISTANCE                                     )
FOUNDATION INC., a Delaware                                    )
Corporation,                                                   )
                                                               )
              Plaintiff,                                       )
                                                               )
v.                                                             )    Case No. CIV-17-777-R
                                                               )
NATIONAL COMMUNITY                                             )
ADVANCEMENT, INC., a Delaware                                  )
Corporation, and                                               )
COURTESY CALL, INC.,                                           )
a Nevada Corporation,                                          )
                                                               )
                       Defendants.                             )

                  SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS,
                     OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

TO:           Donor Relations, LLC c/o Registered Agent, American Incorporators Ltd., 1013 Centre Road Suite 403-A,
              Wilmington, Delaware 19805
              ⌧ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth
below the following documents, electronically stored information, or objects, and permit their inspection,
copying, testing, or sampling of the material:
                       The documents, electronically stored information, or objects to be
                       produced for inspection and copying of are designated on Exhibit “A”
                       attached hereto.
     Place: At the offices of Plaintiff’s attorneys, Phillips Murrah P.C., Attn:                 Date and Time:
     Jennifer L. Miller, Esq., 101 North Robinson Avenue, 13th Floor, Oklahoma                   The day of February, 2018,
     City, OK 73102-5504                                                                         at 10:00 A.M.


                    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
photograph, test, or sample the property or any designated object or operation on it.

     Place:                                                                                      Date and Time:



          The provisions of the Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule 45(d)
and (e), relating to your duty to respond to this subpoena and the potential consequence of not doing so, are attached.
Date: ____________, 2018
CLERK OF COURT
                                                                              OR
Signature of Clerk or Deputy Clerk                                            Attorney’s Signature
The name, address, e-mail, and telephone number of the attorney representing Plaintiff, National Cancer Assistance Foundation, Inc.
who issues or requests this subpoena, is: Jennifer L. Miller, OBA #19888, Phillips Murrah P.C., 101 North Robinson Avenue, 13th
Floor, Oklahoma City, OK 73102; Tele: (405) 235-4100, Fax: (405) 235-4133, E-mail: jlmiller@phillipsmurrah.com
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                                     PROOF OF SERVICE
     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45)

This subpoena for Donor Relations, LLC c/o Registered Agent, was received by me on the
       ____ day of _____________, 2018.
             I served the subpoena by delivering a copy to the named person as follows:

________________________________________________________________________ on the

____ day of _____________, 2018; or

              I returned the subpoena unexecuted because:

_______________________________________________________________________.

       Unless the subpoena was issued on behalf of the United States, or one of its officers or
       agents, I have also tendered to the witness fees for one day’s attendance, and the mileage
       allowed by law, in the amount of:

       $____________________.

       I declare under penalty of perjury that this information is true.


Date: ___________________
                                              Signature of Server



                                              Printed Name and Title



                                              Server’s Address


Additional information regarding attempted service, etc.:
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               Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.

 (1) For a Trial, Hearing, or Deposition. A subpoena may command               (C) Specifying Conditions as an Alternative. In the circumstances
a person to attend a trial, hearing, or deposition only as follows:          described in Rule 45(d)(3)(B), the court may, instead of quashing or
  (A) within 100 miles of where the person resides, is employed,             modifying a subpoena, order appearance or production under
orregularly transacts business in person; or                                 specified conditions if the serving party:
  (B) within the state where the person resides, is employed, or                     (i) shows a substantial need for the testimony or material that
regularlytransacts business in person, if the person                         cannot be otherwise met without undue hardship; and
       (i) is a party or a party’s officer; or                                       (ii) ensures that the subpoenaed person will be reasonably
       (ii) is commanded to attend a trial and would not incur               compensated.
substantial expense.
                                                                             (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or          (1) Producing Documents or Electronically Stored Information.
tangible things at a place within 100 miles of where the person              These procedures apply to producing documents or electronically
resides, is employed, or regularly transacts business in person; and         stored information:
  (B) inspection of premises at the premises to be inspected.                  (A) Documents. A person responding to a subpoena to produce
                                                                             documents must produce them as they are kept in the ordinary course
(d) Protecting a Person Subject to a Subpoena; Enforcement.                  of business or must organize and label them to correspond to the
                                                                             categories in the demand.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or                   (B) Form for Producing Electronically Stored Information Not
attorney responsible for issuing and serving a subpoena must take            Specified. If a subpoena does not specify a form for producing
reasonable steps to avoid imposing undue burden or expense on a              electronically stored information, the person responding must produce
person subject to the subpoena. The court for the district where             it in a form or forms in which it is ordinarily maintained or in a
compliance is required must enforce this duty and impose an                  reasonably usable form or forms.
appropriate sanction—which may include lost earnings and                       (C) Electronically Stored Information Produced in Only One Form.
reasonable attorney’s fees—on a party or attorney who fails to               The person responding need not produce the same electronically
comply.                                                                      stored information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                        (D) Inaccessible Electronically Stored Information. The person
  (A) Appearance Not Required. A person commanded to produce                 responding need not provide discovery of electronically stored
documents, electronically stored information, or tangible things, or to      information from sources that the person identifies as not reasonably
permit the inspection of premises, need not appear in person at the          accessible because of undue burden or cost. On motion to compel
place of production or inspection unless also commanded to appear            discovery or for a protective order, the person responding must show
for a deposition, hearing, or trial.                                         that the information is not reasonably accessible because of undue
  (B) Objections. A person commanded to produce documents or                 burden or cost. If that showing is made, the court may nonetheless
tangible things or to permit inspection may serve on the party or            order discovery from such sources if the requesting party shows good
attorney designated in the subpoena a written objection to inspecting,       cause, considering the limitations of Rule 26(b)(2)(C). The court may
copying, testing, or sampling any or all of the materials or to              specify conditions for the discovery.
inspecting the premises—or to producing electronically stored
information in the form or forms requested. The objection must be            (2) Claiming Privilege or Protection.
served before the earlier of the time specified for compliance or 14            (A) Information Withheld. A person withholding subpoenaed
days after the subpoena is served. If an objection is made,                  information under a claim that it is privileged or subject to protection
the following rules apply:                                                   as trial-preparation material must:
        (i) At any time, on notice to the commanded person, the                       (i) expressly make the claim; and
serving party may move the court for the district where compliance is                (ii) describe the nature of the withheld documents,
required for an order compelling production or inspection.                   communications, or tangible things in a manner that, without
       (ii) These acts may be required only as directed in the order,        revealing information itself privileged or protected, will enable the
and the order must protect a person who is neither a party nor a             parties to assess the claim.
party’s officer from significant expense resulting from compliance.             (B) Information Produced. If information produced in response to a
                                                                             subpoena is subject to a claim of privilege or of protection as
 (3) Quashing or Modifying a Subpoena.                                       trial-preparation material, the person making the claim may notify
   (A) When Required. On timely motion, the court for the district           any party that received the information of the claim and the basis for
where compliance is required must quash or modify a subpoena that:           it. After being notified, a party must promptly return, sequester, or
        (i) fails to allow a reasonable time to comply;                      destroy the specified information and any copies it has; must not use
        (ii) requires a person to comply beyond the geographical             or disclose the information until the claim is resolved; must take
limits specified in Rule 45(c);                                              reasonable steps to retrieve the information if the party disclosed it
        (iii) requires disclosure of privileged or other protected matter,   before being notified; and may promptly present the information
if no exception or waiver applies; or                                        under seal to the court for the district where compliance is required
        (iv) subjects a person to undue burden.                              for a determination of the claim. The person who produced the
   (B) When Permitted. To protect a person subject to or affected by a       information must preserve the information until the claim is
subpoena, the court for the district where compliance is required may,       resolved.
on motion, quash or modify the subpoena if it requires:
       (i) disclosing a trade secret or other confidential research,         (g) Contempt.
development, or commercial information; or                                   The court for the district where compliance is required—and also,
        (ii) disclosing an unretained expert’s opinion or information        after a motion is transferred, the issuing court—may hold in contempt
that does not describe specific occurrences in dispute and results from      a person who, having been served, fails without adequate excuse to
the expert’s study that was not requested by a party.                        obey the subpoena or an order related to it. (c)(3)(A).
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                                  EXHIBIT “A”
  SUBPOENA TO DONOR RELATIONS, LLC TO PRODUCE DOCUMENTS,
           INFORMATION, OR OBJECTS, OR TO PERMIT
          INSPECTION OF PREMISES IN A CIVIL ACTION

       Pursuant to Rule 45, Fed.R.Civ.P., DONOR RELATIONS, LLC                   (“DONOR

RELATIONS”) is requested to produce the following documents, electronically stored

information, tangible things, or objects, and permit their inspection, copying, testing, or

sampling of the material in its possession, custody or control, dated January 1, 2013 to

the present and pertaining to:

       1.      Any    communications      between    You     and    National    Community

Advancement, Inc., or anybody acting on its behalf, wherein the term “Breast Cancer

Assistance Fund” appears or is otherwise referenced.

       3.      All documents that identify the total amount of donations You, or any

anybody acting on Your behalf, have collected or received from Oklahoma residents,

individuals with an Oklahoma area code or a mailing address with an Oklahoma zip code

using the mark “Breast Cancer Assistance Fund.”

       4.      All contracts between You and National Community Advancement, Inc.

       5.      All contracts You entered on behalf of National Community Advancement,

Inc. that govern, refer or relate to the solicitation of Oklahoma residents, individuals with

an Oklahoma area code or a mailing address with an Oklahoma zip code.

       6.      Any script, or suggested script, You have provide to any individual or

entity who has engaged in professional fundraising on behalf of National Community.
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                                       *    *    *

       Said production, inspection, and copying will take place at 10:00 A.M. on the
day of              , 2018, at the offices of Plaintiff’s attorneys, Phillips Murrah P.C.,
Attn: Jennifer L. Miller, Esq., 101 North Robinson Avenue, 13th Floor, Oklahoma City,
OK 73102-5504.

        In order to allow objections to the production of documents and things to be filed,
you should not produce them until the date specified in this subpoena, and if an objection
is filed, until the court rules on the objection.

      The subpoena commands production of documents and things from a nonparty and
does not require attendance of a witness.
